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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                 4:09CR3069-2
                                             )
             V.                              )
                                             )
KELVIN L. STINSON,                           )                     ORDER
                                             )
                    Defendant.               )


       IT IS ORDERED that the Clerk of Court shall file the attached evidence in support
of the defendant’s motion to suppress (filing 29).


      DATED this 19th day of October, 2009.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            United States District Judge
